                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:16 cr 64-15


UNITED STATES OF AMERICA                      )
                                              )
Vs.                                           )             ORDER
                                              )
RECO LAMAR MOSLEY.                            )
______________________________________        )


        THIS MATTER has come before the undersigned pursuant to an

“Emergency Motion for Temporary Bond” (#318).             In the motion, Defendant

requests he be immediately released to visit with his grandmother who is gravely ill,

or in the alternative, that the United States Marshal Service escort Defendant to visit

with his grandmother.

        Defendant’s motion does not reflect any statute or provision of law which

would allow the undersigned to consider the release of Defendant. Defendant is

detained pursuant to 18 U.S.C. § 3143(a)(2) as a result of his plea of guilty to an

offense for which a maximum term of imprisonment of ten years or more is

prescribed in the Controlled Substances Act.        The provisions of 18 U.S.C. §

3143(a)(2) are mandatory and require that a defendant be detained.

        The Defendant may file a motion in the cause requesting that the Court grant

relief under 18 U.S.C. § 3145(c) which require that Defendant show exceptional


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reasons as to why Defendant’s detention would not be appropriate. The Court would

point out that the United States Marshal Service, by law, does not provide escort

services for detained persons to visit with relatives. For the Defendant to be

considered for such a type of relief, Defendant would have to retain a law

enforcement officer that this Court would find would be suitable for the officer to

escort Defendant and for that officer to agree to act as a custodian for Defendant and

to transport Defendant for Defendant’s visit and to transport Defendant back to the

detention facility at the end of the visit. Should Defendant’s counsel desire to be

heard as to such a motion, the motion would have to be filed and the undersigned

will hear Defendant’s motion as expeditiously as possible. Sessions of court for this

week are for January 25, 2017 and January 27, 2017.

                                       ORDER

      IT IS, THEREFORE, ORDERED the Emergency Motion for Temporary

Bond (#318) is hereby DENIED without prejudice. Defendant’s counsel may file

another motion consistent with the instructions provided in this Order.

                                      Signed: January 23, 2017




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